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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
  MKM/NS:TH                                        271 Cadman Plaza East
  F. #2017R01840                                   Brooklyn, New York 11201



                                                   September 26, 2020

  By ECF

  The Honorable Nicholas G. Garaufis
  United States District Judge
  United States District Court
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:      United States v. Keith Raniere, et al.
                         Criminal Docket No. 18-204 (S-2) (NGG) (VMS)

  Dear Judge Garaufis:

                The government respectfully submits this letter to advise the Court that the
  undersigned prosecutors received the enclosed email and attachment on September 25, 2020.
  The government is also informed that on the same date, approximately ten individuals, one
  with a video camera, arrived at the United States Attorney’s Office and left a paper copy of
  the attachment for the undersigned. At approximately the same time, another individual
  unsuccessfully attempted to leave a package for former Assistant United States Attorney
  Moira Penza at her law firm address.
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  These efforts appear to be directed by the defendant Keith Raniere, as reflected in the
  enclosed correspondence from defendant Keith Raniere through his prison email account.


                                                     Respectfully submitted,

                                                     SETH D. DUCHARME
                                                     Acting United States Attorney

                                            By:       /s/ Tanya Hajjar
                                                     Tanya Hajjar
                                                     Mark Lesko
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

  cc:          Counsel of Record (by ECF)




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